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UNrTED sTATEs DISTRICT COURT

MIDDLE DISTRICT OF FLORIDACLERK. US DISTR|CT C‘GURT

 

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sHAwN RICKS,
Plaimirf,
CASE No.; 5 `~ |”l~C»V- 560 ~O C '5% FM.
-vS-
CoMENITY BANK,
Defendant.
/
CoMPLAlNT

COMES NOW Plaintiff, Shawn Ricks, by and through the undersigned counsel,
and sues Defendant, COMENITY BANK, and in support thereof respectfully alleges
violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“'I`CPA”)
and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.
(“FCCPA”).

MIM

l. The TCPA was enacted to prevent companies like COMENITY BANK,
(“Comenity”) from invading American citizen’s privacy and prevent abusive “robo-
calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.. LLC. -US-, 132

S.Ct. 740, 745, 181 L.Ed.2d 881 (2012).

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3. “No one can deny the legitimacy of the state's goal: Preventing the phone
(at home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses
some of the phone owner’s time and mental energy, both of which are precious. Most
members of the public want to limit calls, especially cellphone calls, to family and
acquaintances, and to get their political information (not to mention their advertisements)
[*6] in other ways.” Patriotic Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS
47, at *5-6 (7th Cir. Jan 3, 2017).

4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
scourge of modern civilization, they wake us up in the moming; they interrupt our dinner
at night; they force the sick and elderly out of bed; they hound us until we want to rip the
telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991) Senator Hollings presumably
intended to give telephone subscribers another option: telling the autodialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (l l"‘ Cir. 2014).

5. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014."
https://www.f`cc.gov/document/fact-sheet-consumer-protection-proposal.

JURISDICTION AND VENUE

6. This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

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7. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

8. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mz'ms v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l 1th Cir. 2014)

9. The alleged violations described herein occurred in Marion County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §l39l(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

10. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Ocala, Marion County, Florida

ll. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

12. Plaintiff is an “alleged debtor.”

13. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11"' cir. 2014) and osorio v. stare Fam Bank, F.S.B., 746 F.3d 1242 (11‘*‘

cir. 2014).

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14. Defendant, COMENITY BANK, is a corporation which was formed in
Delaware, responsible for attempting to collect a consumer debt from Plaintiff and is
transacting business in the State of Florida.

15. The debt that is the subject matter of this Complaint is a “consumer debt”

as defined by Florida Statute §559.55(6).

16. Defendant is a “creditor" as defined in Florida Statute §559.55(5)

17. Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintift`s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(l) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an
autodialer because of the vast number of calls he received and because he heard a pause
when he answered his phone before a voice came on the line and/or received prerecorded
messages from Comenity.

l9. Plaintiff is the regular user and carrier of the cellular telephone number
(352) ***-5367, and was the called party and recipient of Defendant’s calls,

20. Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following phone number(s):

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(866) 308-0680, and when that numbers is called, a pre-recorded message answers “Thank
you for calling our Marathon Visa customer service system.”

21. Within the last four (4) years, Defendant began bombarding Plaintiff's
cellular telephone (352) ***- 5367 in an attempt to collect a debt on a Marathon Visa
credit card serviced by Comenity Bank.

22. In or about April of 2017, due to the ceaseless barrage of automated calls
from Defendant, Plaintiff answered a call from the Defendant, met with an extended
pause, was eventually connected to a live agent/representative of Defendant, stated that
he was aware of his obligation, and demanded that Defendant cease placing calls to her
aforementioned cellular telephone number.

23. During the aforementioned conversation in or about April of 2017 with
Defendant’s agent/representative, Plaintiff expressly revoked any express consent
Defendant may have had for placement of telephone calls to Plaintiff's aforementioned
cellular telephone number by the use of an automatic telephone dialing system or a pre-
recorded or artificial voice.

24. Each subsequent call the Defendant made to the Plaintift’s aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

25. Each subsequent call the Defendant made to the Plaintifi’s aforementioned
cellular telephone number was knowing and willful.

26. Again, in or about July of 2017, due to continued calls to his
aforementioned cellular telephone number from the Defendant, Plaintiff again answered a

call from Defendant, met with an extended pause, eventually was connected to a live

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agent/representative of Defendant, and informed an agent/representative of Defendant
that he had previously informed them not to call him, and again demanded that Defendant
cease placing calls to his aforementioned cellular telephone number.

27. On at least five (5) separate occasions, Plaintiff has answered a call from
Defendant, held the line to be connected to a live representative, and demanded that
Defendant cease placing calls to his aforementioned cellular telephone number. His
principal reason for answering these calls and making these demands of Comenity was
the cumulative injury and annoyance he suffered from the calls placed by Comenity.
These injuries are further described in paragraphs 30 through 36 herein.

28. From about April of 2017 through the filing of this complaint, Defendant
has placed approximately two hundred (200) actionable calls to Plaintift”s
aforementioned cellular telephone number. Due to the inordinate volume of automated
calls, Plaintiff was unable to document all of the automated calls he wrongfully received
to his cellular phone. 'l`he exact number of calls will be established after a thorough
review of Defendant’s records.

29. Defendant intentionally harassed and abused Plaintiff on numerous
occasions by calling multiple times during one day, and on back to back days, with such
frequency as can reasonably be expected to harass.

30. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon his right of seclusion.

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31. From each and every call without express consent placed by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant’s calls,

32. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.
Plaintiff had to waste time to deal with missed call notifications and call logs that reflect
the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s
cellular phone, which are designed to inform the user of important missed
communications

33. Each and every call placed without express consent by Defendant to
Plaintiff`s cell phone was an injury in the form of a nuisance and annoyance to the
Plaintiff. For calls that were answered, Plaintiff had to go through the unnecessary
trouble of answering them. Even for unanswered calls, Plaintiff had to deal with missed
call notifications and call logs that reflected the unwanted calls, This also impaired the
usefulness of these features of Plaintiff s cellular phone, which are designed to inform the
user of important missed communications

34. Each and every call placed without express consent by Defendant to
Plaintiff"s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

phone’s battery power.

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35. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his
cellular phone and his cellular phone services.

36. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affected in a personal and individualized way by stress,
annoyance, and aggravation.

37. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff`s
cellular telephone in this case.

38. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voicejust as it did to Plaintiff’s cellular telephone in
this case, with no way for the consumer to remove the number.

39. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they wish for
the calls to stop.

40. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

4l. Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

42. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the

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43. Defendant’s corporate policy provided no means for Plaintiff to have his
number removed from Defendant’s call list.

44. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

45. Not a single call placed by Defendant to Plaintiff was placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

46. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

M
(Violation of the TCPA)

47. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
six (46) as if fully set forth herein.

48. COMENITY BANK willfully violated the TCPA with respect to Plaintiff,
especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified COMENITY BANK that he wished for the calls to stop.

49. COMENITY BANK repeatedly placed non-emergency telephone calls to
Plaintiff’s cellular telephone using an automatic telephone dialing system or prerecorded
or artificial voice without Plaintiff’s prior express consent in violation of federal law,
including 47 U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against COMENITY BANK for statutory damages, punitive
damages, actual damages, treble damages, enjoinder from further violations of these parts

and any other such relief the court may deem just and proper.

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COUNT II
(Violation of the FCCPA)

50. Plaintiff fully incorporates and realleges paragraphs orie (l) through forty-
four (44) as if fully set forth herein

51. At all times relevant to this action COMENITY BANK is subject to and
must abide by the laws of the State of Florida, including Florida Statute § 559.72.

52. COMENITY BANK has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of her or her family with such frequency
as can reasonably be expected to harass the debtor or her or her family.

53. COMENITY BANK has violated Florida Statute § 559.72(7) by willfully
engaging in other conduct which can reasonably be expected to abuse or harass the debtor
or any member of her or her family.

54. COMENITY BANK‘s actions have directly and proximately resulted in
Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute §
559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against COMENITY BANK for statutory damages, punitive
damages, actual damages, costs, interest, attorney fees, enjoinder from further violations
of these parts and any other such relief the court may deem just and proper.

Respectfully submitted,
/S/ Shaughn C. Hill, Esquire
Shaughn C. Hill, Esquire

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

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201 N. Franklin Street, 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
shill@forthepeople.com
lcrouch@forthepeople.com
Florida Bar #: 0105998

Attomey for Plaintiff

